            Case 7:16-cv-00003-JCM Document 134 Filed 11/08/19 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x

IN THE MATTER OF AN APPLICATION
TO BRING PERSONAL ELECTRONIC DEVICE(S)
OR GENERAL PURPOSE COMPUTING DEVICE(S)
INTO THE COURTHOUSES OF THE
SOUTHERN DISTRICT OF NEW YORK
FOR USE IN A PROCEEDING OR TRIAL
___________________________________________ x

          The following Order is subject to the definitions, obligations and restrictions imposed
pursuant to Standing Order M10-468, as Revised. Upon submission of written application to
this Court, it is hereby
          ORDERED that the following attorney(s) are authorized to bring the Personal Electronic
Device(s) and/or the General Purpose Computing Device(s) (collectively, “Devices”) listed below
into the Courthouse for use in a proceeding or trial in the action
           Domingo Ojeda v. Metropolitan Transportation Authority
captioned___________________________________________________________________
                                                                   16-3
_____________________________________________________________, No. _________.
                                                              11/12/19 through 11/15/19
The date(s) for which such authorization is provided is (are) __________________                    .

 Attorney                                              Device(s)


 1.
        Beck S. Fineman                                 Personal cell phone; personal laptop

 2.


 3.

                                       (Attach Extra Sheet If Needed)

         The attorney(s) identified in this Order must present a copy of this Order when entering
the Courthouse. Bringing any authorized Device(s) into the Courthouse or its Environs
constitutes a certification by the attorney that he or she will comply in all respects with the
restrictions and obligations set forth in Standing Order M10-468, as Revised.

                     SO ORDERED:

Dated:               _____________

                                             ____________________________________________
                                                            United States Judge


Revised: February 26, 2014
